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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


 ASTRAZENECA PHARMACEUTICALS LP,

                       Plaintiff,

        v.                                           C.A. No. 21-27 (LPS)

 XAVIER BECERRA, in his official capacity            ADMINISTRATIVE PROCEDURE ACT
 as Secretary of the U.S. Department of Health       REVIEW OF AGENCY DECISION
 and Human Services;

 DANIEL J. BARRY, in his official capacity as
 Acting General Counsel of the U.S.
 Department of Health and Human Services;

 DIANA ESPINOSA, in her official capacity as
 Acting Administrator of the Health Resources
 and Services Administration;

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; and

 HEALTH RESOURCES AND SERVICES
 ADMINISTRATION,

                       Defendants.



                         [PROPOSED] ORDER GRANTING
             PLAINTIFF’S SECOND MOTION FOR SUMMARY JUDGMENT
                AND ENTERING FINAL JUDGMENT FOR PLAINTIFF

       The Court having considered Plaintiff AstraZeneca Pharmaceuticals LP’s Second Motion

for Summary Judgment, the relevant papers and submissions, and any opposition thereto,

       IT IS HEREBY ORDERED, this ______ day of ______________, 2021, that Astra-

Zeneca’s Second Motion for Summary Judgment is GRANTED.

       The Court further DECLARES that the letter from Acting Administrator Diana Espinosa

to Odalys Caprisecca dated May 17, 2021 (May 17 letter) is not in accordance with law, was issued



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without observance of procedure required by law, and is invalid.

        The Court further ORDERS that the May 17 letter is SET ASIDE and VACATED.

        The Court further DECLARES that that AstraZeneca is not required to deliver 340B-

discounted drugs to an unlimited number of contract pharmacies.

        The Court further DECLARES that Section 340B does not conflict with, forbid, or fore-

close AstraZeneca’s policy of offering 340B drugs directly to covered entities or, if the covered

entity lacks an in-house pharmacy, allowing the covered entity to designate a single contract phar-

macy for delivery of AstraZeneca’s medicines at the 340B price.

        The Court further ORDERS that each of the Defendants and their officers, agents, servants,

employees, and attorneys, and other persons who are in active concert or participation with the

foregoing persons, are PERMANENTLY ENJOINED from implementing or enforcing the

May 17 letter.

        The Court further ORDERS that each of the Defendants and their officers, agents, servants,

employees, and attorneys, and other persons who are in active concert or participation with the

foregoing persons, are PERMANENTLY ENJOINED from assessing overcharges or imposing

civil monetary penalties against AstraZeneca based on the May 17 letter.

        The Court further ORDERS that each of the Defendants and their officers, agents, servants,

employees, and attorneys, and other persons who are in active concert or participation with the

foregoing persons, are PERMANENTLY ENJOINED from undertaking any action or issuing any

final decision, judgment, order, or relief against AstraZeneca based on the May 17 letter.

        The Court further ORDERS that Defendants shall pay AstraZeneca reasonable attorneys’

fees and costs, plus interest accruing thereon, under the Equal Access to Justice Act, 28 U.S.C. § 2412.




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      The Clerk is directed to enter JUDGMENT in favor of Plaintiff and to close the case.



                                              ________________________________
                                              UNITED STATES DISTRICT JUDGE




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